                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 1 of 12




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                                                                          6                      IN THE UNITED STATES DISTRICT COURT
                                                                          7                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                               IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          9    ANTITRUST LITIGATION                     )
                                                                                                                        )   Case No. C-07-5944-SC
                                                                         10                                             )
United States District Court
                               For the Northern District of California




                                                                                                                        )   ORDER GRANTING IN PART AND
                                                                         11    This Order Relates To:                   )   DENYING IN PART THE PHILIPS
                                                                                                                        )   DEFENDANTS' MOTION TO
                                                                         12        Case No. C-11-6397 SC                )   COMPEL ARBITRATION
                                                                                                                        )
                                                                         13        COSTCO WHOLESALE CORP.,              )
                                                                                                                        )
                                                                         14                          Plaintiff,         )
                                                                                                                        )
                                                                         15             v.                              )
                                                                                                                        )
                                                                         16        HITACHI LTD., et al,                 )
                                                                                                                        )
                                                                         17                          Defendants.        )
                                                                                                                        )
                                                                         18                                             )
                                                                         19
                                                                         20   I.    INTRODUCTION
                                                                         21         Now before the Court is the motion of Defendants Koninklijke
                                                                         22   Philips N.V. ("KPE") and Philips Electronics North America
                                                                         23   Corporation ("PENAC") (collectively the "Philips Defendants") to
                                                                         24   compel arbitration against Plaintiff Costco Wholesale Corporation
                                                                         25   ("Plaintiff").    ECF No. 1735 ("Mot.").      The matter is fully
                                                                         26   briefed, ECF Nos. 2021 ("Opp'n"), 2217 ("Reply"), and appropriate
                                                                         27   for resolution without oral argument per Civil Local Rule 7-1(b).
                                                                         28   For the reasons explained below, the Court GRANTS in part and
                                                                                  Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 2 of 12




                                                                          1   DENIES in part the Philips Defendants' motion.
                                                                          2
                                                                          3 II.       BACKGROUND
                                                                          4           This matter is related to the Cathode Ray Tube ("CRT")
                                                                          5   Antitrust Multi-District Litigation ("MDL"), which involves
                                                                          6   allegations of a worldwide antitrust conspiracy to fix prices on
                                                                          7   cathode ray tubes and related products.           Plaintiff had been a
                                                                          8   member of the MDL direct purchaser plaintiffs' class action, but it
                                                                          9   opted out to pursue its own claims.          The opt-out case was
                                                                         10   transferred to this Court, as part of the MDL, on December 6, 2011.
                               For the Northern District of California
United States District Court




                                                                         11   No. 11-cv-06397-SC, ECF No. 4 ("Conditional Transfer Order").
                                                                         12   Plaintiff's complaint alleges that the Philips Defendants, along
                                                                         13   with the other defendants named in the case, "formed an
                                                                         14   international cartel that conducted a conspiracy . . . for the
                                                                         15   purpose and to the effect of raising or maintaining prices and
                                                                         16   reducing capacity and output for cathode ray tubes."             Compl. ¶ 1.
                                                                         17   Plaintiff's complaint includes claims under federal and state
                                                                         18   antitrust laws.       Id. ¶¶ 174-201.
                                                                         19           Underlying the present matter is an arbitration clause in the
                                                                         20   so-called Vendor Agreement between Plaintiff and the Philips
                                                                         21   Consumer Electronics Corporation ("PCEC"), a division of PENAC.
                                                                         22   ECF No. 1736 ("Koons Decl.") Ex. A.          The Vendor Agreement with PCEC
                                                                         23   incorporates by reference Plaintiff's "Standard Terms," which
                                                                         24   include the following provision on arbitration:
                                                                         25
                                                                                          All claims and disputes that (1) are between Vendor
                                                                         26               [the Philips Defendants] and PriceCostco 1 and (2)
                                                                                          arise out of or relate to these Standard Terms or
                                                                         27               any agreement between Vendor and PriceCostco or to
                                                                         28   1
                                                                                  The Standard Terms use "PriceCostco" to refer to Plaintiff.


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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 3 of 12



                                                                                         their performance or breach (including any text or
                                                                          1              statutory claim) . . . shall be arbitrated under
                                                                                         the Commercial Arbitration Rules of the American
                                                                          2              Arbitration Association ("AAA") in English at
                                                                                         Seattle, Washington . . . Notwithstanding the
                                                                          3              above, PriceCostco or Vendor may bring court
                                                                                         proceedings or claims against each other (i) solely
                                                                          4              as part of separate litigation commenced by an
                                                                                         unrelated third party . . . .
                                                                          5
                                                                          6   Koons Decl., Ex. B, ¶ 20.
                                                                          7        The parties make much of this particular motion's procedural
                                                                          8   posture.    The Philips Defendants originally filed it on May 9,
                                                                          9   2013, in the alternative to an August 17, 2012 motion to dismiss
                                                                         10   claims asserted by the Direct Action Plaintiffs' ("DAPs"),
                               For the Northern District of California
United States District Court




                                                                         11   including Plaintiff.     ECF No. 1668.    At that time, a court-
                                                                         12   appointed Special Master oversaw certain motion practice in this
                                                                         13   case.   On May 2, 2013, the Special Master recommended that the
                                                                         14   Court grant the motion to dismiss, but in advance of their motion
                                                                         15   to adopt those recommendations, Plaintiff and the Philips Defendant
                                                                         16   stipulated to resume briefing on the motion to compel arbitration
                                                                         17   only after the Court's ruling on the Special Master's
                                                                         18   recommendations regarding the motion to dismiss the DAP claims.
                                                                         19   ECF No. 1699.    On August 21, 2013, the Court granted in part and
                                                                         20   denied in part the motion to dismiss, ECF No. 1856, leaving
                                                                         21   undisturbed Plaintiff's claims against the Philips Defendants, so
                                                                         22   the parties resumed briefing on the motion to compel arbitration
                                                                         23   pursuant to their stipulation.
                                                                         24        This timeline is a point of contention in the parties' present
                                                                         25   motion because, throughout 2012, the Philips Defendants engaged in
                                                                         26   discovery related to Plaintiff's November 14, 2011 opt-out
                                                                         27   complaint.    Specifically, the Philips Defendants served Plaintiff
                                                                         28   with interrogatories and document requests, and also deposed one of



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 4 of 12




                                                                          1   Plaintiff's key witnesses.      As this discovery was ongoing, the
                                                                          2   Toshiba Defendants, who had joined in the Philips Defendants'
                                                                          3   discovery requests, moved on August 24, 2012 to compel arbitration
                                                                          4   against Plaintiff, relying on the same Vendor Agreement and
                                                                          5   Standard Terms now at issue.      See ECF No. 1332.      The Court granted
                                                                          6   the Toshiba Defendants' motion on January 28, 2013.
                                                                          7         Defendants changed their discovery strategy on January 10,
                                                                          8   2013, requesting that Plaintiff produce Vendor Agreements and other
                                                                          9   contracts containing arbitration provisions.         Plaintiff contends
                                                                         10   that the Philips Defendants must have known about such contracts
                               For the Northern District of California
United States District Court




                                                                         11   all along, given the Toshiba Defendants' motion, Plaintiff's
                                                                         12   significant business relationship with the Philips Defendants
                                                                         13   (including three separate updates to the Vendor Agreements since
                                                                         14   the first one in 1995), and their Rule 30(b)(6) deposition of
                                                                         15   Plaintiff's witness.     But the Philips Defendants maintain that they
                                                                         16   did not obtain for themselves copies of the relevant arbitration
                                                                         17   provision until February 11, 2013, and that the earliest they had
                                                                         18   learned of the possibility of arbitration was in December 2012,
                                                                         19   during the Rule 30(b)(6) deposition.        Plaintiffs contend that the
                                                                         20   Philips Defendants have engaged in gamesmanship, deliberately
                                                                         21   delaying their motion to compel arbitration while pursuing
                                                                         22   discovery and their motion to dismiss.        This, according to
                                                                         23   Plaintiffs, constitutes a waiver of the Philips Defendants'
                                                                         24   opportunity to compel arbitration.
                                                                         25         The Philips Defendants disagree.       The Philips Defendants also
                                                                         26   ask the Court to dismiss Plaintiff's claims for joint and several
                                                                         27   liability.
                                                                         28   ///



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 5 of 12




                                                                          1   III. LEGAL STANDARD
                                                                          2        Section 4 of the Federal Arbitration Act ("FAA") permits "a
                                                                          3   party aggrieved by the alleged failure, neglect, or refusal of
                                                                          4   another to arbitrate under a written agreement for arbitration [to]
                                                                          5   petition any United States district court . . . for any order
                                                                          6   directing that . . . arbitration proceed in the manner provided for
                                                                          7   in [the arbitration] agreement."       9 U.S.C. § 4.     The FAA embodies a
                                                                          8   policy that generally favors arbitration agreements.          Moses H. Cone
                                                                          9   Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983).
                                                                         10   Federal courts must enforce arbitration agreements rigorously.            See
                               For the Northern District of California
United States District Court




                                                                         11   Hall Street Assoc., L.L.C. v. Mattel, Inc., 552 U.S. 576, 581
                                                                         12   (2008).   Courts must also resolve any "ambiguities as to the scope
                                                                         13   of the arbitration clause itself . . . in favor of arbitration."
                                                                         14   Volt Info. Scis., Inc. v. Bd. of Trs. of Leland Stanford Jr. Univ.,
                                                                         15   489 U.S. 468, 476 (1989).      These policies all "appl[y] with special
                                                                         16   force in the field of international commerce."         Mitsubishi Motors
                                                                         17   Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985).
                                                                         18
                                                                         19 IV.    DISCUSSION
                                                                         20        The parties' dispute mainly concerns whether the Philips
                                                                         21   Defendants waived their right to compel arbitration.          The Court
                                                                         22   finds that they did not.
                                                                         23        Given the FAA's arbitration-friendly standards and the fact
                                                                         24   that courts must vigorously enforce arbitration agreements, Moses,
                                                                         25   460 U.S. at 24-25, "[w]aiver of a contractual right to arbitration
                                                                         26   is not favored."    Fisher v. A.G. Becker Paribas, Inc., 791 F.2d
                                                                         27   691, 694 (9th Cir. 1986); Shinto Shipping Co., Ltd. v. Fibrex &
                                                                         28   Shipping Co., 572 F.2d 1328, 1330 (9th Cir. 1978)).          Accordingly,



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 6 of 12




                                                                          1   "any party arguing waiver of arbitration bears a heavy burden of
                                                                          2   proof."   Id.   "A party seeking to prove waiver of a right to
                                                                          3   arbitration must demonstrate: (1) knowledge of an existing right to
                                                                          4   compel arbitration; (2) acts inconsistent with that existing right;
                                                                          5   and (3) prejudice to the party opposing arbitration resulting from
                                                                          6   such inconsistent acts."      Id. (citing Shinto Shipping, 572 F. 2d at
                                                                          7   1330)).   The Court's analysis of these three factors must be
                                                                          8   undertaken in light of the strong federal policy in favor of
                                                                          9   enforcing arbitration agreements.         Id. (citing Moses, 460 U.S. at
                                                                         10   24-25).
                               For the Northern District of California
United States District Court




                                                                         11        A.     Knowledge of an Existing Right to Compel Arbitration
                                                                         12        Plaintiff contends that the Philips Defendants had knowledge
                                                                         13   of their arbitration right long before they filed their motion in
                                                                         14   May 2013.   Plaintiff notes that the first Vendor Agreement between
                                                                         15   Plaintiff and the Philips Defendants was signed in 1995, and that
                                                                         16   the Philips Defendants must also have received three separate
                                                                         17   revisions to the Standard Terms in 1997, 2000, and 2004.            Opp'n at
                                                                         18   7-8 (citing ECF No. 2022 ("Shavey Decl.") ¶¶ 5-6).
                                                                         19        Further, Plaintiff contends that the Philips Defendants should
                                                                         20   have been on notice of their Vendor Agreements with Plaintiff -- a
                                                                         21   major customer of the Philips Defendants for many years -- at least
                                                                         22   by 2010, when Plaintiff produced transactional data pursuant to a
                                                                         23   third-party subpoena in the Indirect Purchaser Plaintiffs' case.
                                                                         24   See Opp'n at 8 (citing ECF No. 2024 ("Weiss Decl.") Ex. A).            The
                                                                         25   Philips Defendants must have known of this data, according to
                                                                         26   Plaintiff, since they referenced and received it several times
                                                                         27   between 2010 and 2012.     Id.   Given the existence of the Vendor
                                                                         28   Agreements and the revised terms, the discovery requests, and the



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 7 of 12




                                                                          1   Toshiba Defendants' motion to compel arbitration, Plaintiff submits
                                                                          2   that the Philips Defendants cannot credibly state that they were
                                                                          3   unaware of a basis for compelling arbitration until the February
                                                                          4   2013 production of the actual Vendor Agreement.
                                                                          5        The Philips Defendants claim that they searched diligently for
                                                                          6   arbitration-related documents after the Toshiba Defendants' motion
                                                                          7   was filed, and after the Rule 30(b)(6) deposition.          Reply Ex. 1
                                                                          8   ("Malaise Decl.") ¶¶ 7-8.      They state that any delay would be
                                                                          9   reasonable given the Philips Defendants' exit from the CRT business
                                                                         10   before Plaintiff ever filed a complaint.        Reply at 5-6 (citing
                               For the Northern District of California
United States District Court




                                                                         11   Malaise Decl. ¶ 11 & Ex. A at 6).         Since the Philips Defendants did
                                                                         12   not have the actual Vendor Agreement in hand until early 2013, they
                                                                         13   argue that they could not reasonably have moved to compel
                                                                         14   arbitration despite their existing business relationship with
                                                                         15   Costco and the Toshiba Defendants' earlier motion to compel
                                                                         16   arbitration.    Id. at 5-6.    Further, the Philips Defendants contend
                                                                         17   that Plaintiff should be estopped from asserting this line of
                                                                         18   argument, since they filed their complaint instead of pursuing
                                                                         19   arbitration (despite apparently knowing of the agreement).          Id. at
                                                                         20   6.
                                                                         21        The Court finds that this Fisher factor favors the Philips
                                                                         22   Defendants.    The facts show that the Philips Defendants may have
                                                                         23   had a hint of the possibility of an arbitration clause in some
                                                                         24   agreement with Plaintiff, but they also appear to have been
                                                                         25   genuinely unsure of whether such an arbitration provision applied
                                                                         26   to their dispute with Plaintiff, and in any event, there appears to
                                                                         27   be no dispute that Plaintiff did not actually produce the relevant
                                                                         28   Vendor Agreement until February 2013.        These facts do not merit a



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 8 of 12




                                                                          1   finding of preexisting knowledge.         Fisher, 791 F.2d at 694.
                                                                          2          B.    Acts Inconsistent with an Existing Right
                                                                          3          Plaintiff argues that the Philips Defendants' pursuit of
                                                                          4   discovery and a motion to dismiss -- the "machinery of litigation"
                                                                          5   -- was inconsistent with an existing right to arbitration, and the
                                                                          6   Court should find waiver.      Opp'n at 10-12.     In support of this
                                                                          7   argument, Plaintiff cites an array of out-of-circuit authority, and
                                                                          8   relies heavily on the "scope and frequency" of the Philips
                                                                          9   Defendants' discovery requests and responses, as well as their Rule
                                                                         10   30(b)(6) deposition.     See id.   The one Ninth Circuit case Plaintiff
                               For the Northern District of California
United States District Court




                                                                         11   cites in support of its waiver argument, Van Ness Townhouses v. Mar
                                                                         12   Industries Corp., 862 F.2d 754, 758 (9th Cir. 1988), states that
                                                                         13   significant delays may indicate an intent to waive arbitration
                                                                         14   rights.     Specifically, in that case, the moving party had waited
                                                                         15   two years to file its motion to compel.        Id.   Worse, it had filed
                                                                         16   its motion after the trial's originally scheduled start date.           Id.
                                                                         17          The Court finds that the Philips Defendants have not shown
                                                                         18   behavior inconsistent with an intention to arbitrate.           First, the
                                                                         19   Philips Defendants filed their motion in May 2013, very soon after
                                                                         20   their receipt of the Vendor Agreement.        See Van Ness, 862 F.2d at
                                                                         21   758.   It is true that Plaintiff filed its complaint nearly eighteen
                                                                         22   months before the Philips Defendants moved to compel arbitration,
                                                                         23   see Opp'n at 16, but given the circumstances surrounding the
                                                                         24   complexity of this action and the Philips Defendants' late receipt
                                                                         25   of the actual Vendor Agreements, the Court finds this fact
                                                                         26   uncompelling.
                                                                         27          Second, the Philips Defendants filed their motion within a
                                                                         28   year of their serving discovery requests on Plaintiff and well in



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                                                                               Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 9 of 12




                                                                          1   advance of this case's scheduled 2015 trial date.          See id.
                                                                          2   Compared to Van Ness, this is no great delay.
                                                                          3        Third, as in the In re TFT-LCD MDL, the Philips Defendants are
                                                                          4   just one group among many defendants in a complex MDL, just as
                                                                          5   Plaintiff is one of numerous plaintiffs.          See No. M 07-1827 SI,
                                                                          6   2011 WL 2650689, at *7-8 (N.D. Cal. July 6, 2011).          This counts
                                                                          7   against finding that the Philips Defendants' participation in
                                                                          8   litigation indicates their intent not to arbitrate.          See id.
                                                                          9        Finally, the Ninth Circuit has made clear that filing a motion
                                                                         10   to dismiss is not sufficient to constitute a waiver of the right to
                               For the Northern District of California
United States District Court




                                                                         11   compel arbitration.     See Sovak v. Chugai Pharma. Co., 280 F.3d
                                                                         12   1266, 1270 (9th Cir. 2002).      The Philips Defendants' reasonable
                                                                         13   discovery activities, in addition to their motion to dismiss, do
                                                                         14   not push this case over that bar.          See Kingsbury v. U.S.
                                                                         15   Greenfiber, LLC, No. CV 08-00151 AHM, 2012 WL 2775022, at *3 (C.D.
                                                                         16   Cal. June 29, 2012) ("[I]f a party lacks knowledge of an existing
                                                                         17   right to arbitrate then even extensive litigation conduct is not
                                                                         18   inconsistent with its arbitration rights.").          The Philips
                                                                         19   Defendants have not even answered the complaint yet.          See In re
                                                                         20   TFT-LCD, 2011 WL 2650689, at *8.       And the Standard Terms clearly
                                                                         21   require a written waiver requirement, further cutting against a
                                                                         22   finding of implicit waiver.      Id.
                                                                         23        Taking all of these facts together, the Court finds that the
                                                                         24   second Fisher prong weighs against finding waiver.
                                                                         25        C.    Prejudice
                                                                         26        Finally, even if the Court had found that the Philips
                                                                         27   Defendants knew of their arbitration right and acted inconsistently
                                                                         28   with it, Plaintiff would have to show that it was prejudiced as a



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                                                                              Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 10 of 12




                                                                          1   result.   Factors involved in the prejudice analysis include delay
                                                                          2   in filing the motion to compel and the costs and expenses incurred
                                                                          3   in litigation.    See Brown v. Dillard's, Inc., 430 F.3d 1004, 1012
                                                                          4   (9th Cir. 2005).    The Ninth Circuit has indicated that if there is
                                                                          5   no showing of prejudice, there will likely be no waiver of
                                                                          6   arbitration rights.    See Sovak, 280 F.3d at 1270; In re TFT-LCD,
                                                                          7   2011 WL 2650689, at *8.
                                                                          8        Plaintiff claims that it has been prejudiced by the Philips
                                                                          9   Defendants' actions because (1) it has had to spend time and money
                                                                         10   defending against the motion to dismiss before both the Special
                               For the Northern District of California
United States District Court




                                                                         11   Master and the Court; (2) responding to discovery has been
                                                                         12   burdensome; and (3) the Philips Defendants moved for arbitration in
                                                                         13   the alternative to their motion to dismiss, suggesting that their
                                                                         14   motive was gamesmanship because they only wanted to pursue
                                                                         15   arbitration if they lost on their motion to dismiss.          See Opp'n at
                                                                         16   13-17.
                                                                         17        The Court does not find these arguments compelling.            First, as
                                                                         18   the Philips Defendants note, they would have remained in the case
                                                                         19   to seek dismissal of Plaintiff's joint and several liability
                                                                         20   claims, so Plaintiff would have had to respond to a motion to
                                                                         21   dismiss at some point, regardless of the motion to compel
                                                                         22   arbitration.     Moreover, since the Philips Defendants were not the
                                                                         23   only parties on that motion, it does not appear that Plaintiff was
                                                                         24   unduly burdened in handling it.      Second, the Court does not find
                                                                         25   that Plaintiff has been unduly burdened in responding to discovery,
                                                                         26   since -- as with the motion to dismiss -- the profusion of parties
                                                                         27   to this case guarantees that Plaintiff would have had to comply
                                                                         28   with discovery requests and otherwise engage in litigation.            See In



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                                                                              Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 11 of 12




                                                                          1   re TFT-LCD, 2011 WL 2650689, at *8 (finding similarly).             This is
                                                                          2   particularly salient because the plaintiffs and defendants in this
                                                                          3   huge, long-running case are so interconnected.         Third, the Court
                                                                          4   does not find Plaintiff's accusation of gamesmanship relevant or
                                                                          5   convincing under these circumstances.       The Philips Defendants'
                                                                          6   filing their motion to compel in the alternative is not
                                                                          7   impermissible, especially since they filed it before the Court had
                                                                          8   ruled on the motion to dismiss and after the Special Master
                                                                          9   recommended that it be granted.      This does not suggest that the
                                                                         10   Philips Defendants were attempting to cheat the system.
                               For the Northern District of California
United States District Court




                                                                         11         Considering these three factors together, the Court finds that
                                                                         12   Plaintiff has failed to carry the heavy burden of proving that the
                                                                         13   Philips Defendants waived their right to arbitration, especially
                                                                         14   considering the strong federal policy of enforcing arbitration
                                                                         15   agreements in the field of international commercial disputes.
                                                                         16         However, as in its ruling on the Toshiba Defendants' motion to
                                                                         17   compel arbitration, ECF No. 1543 ("Toshiba Order"), the Court
                                                                         18   declines to dismiss Plaintiff's claims for co-conspirator or joint
                                                                         19   and several liability at this time.       Those claims are outside the
                                                                         20   scope of the present arbitration agreement.        See Moses, 460 U.S. at
                                                                         21   20 ("[F]ederal law requires piecemeal resolution when necessary to
                                                                         22   give effect to an arbitration agreement."); see also Toshiba Order
                                                                         23   at 5 (adopting Special Master's R&R that co-conspirator or joint
                                                                         24   and several liability claims are not subject to arbitration in this
                                                                         25   case).
                                                                         26   ///
                                                                         27   ///
                                                                         28   ///



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                                                                              Case 3:07-cv-05944-JST Document 2265 Filed 12/13/13 Page 12 of 12




                                                                          1   V.   CONCLUSION
                                                                          2        As explained above, the Court GRANTS the Philips Defendants'
                                                                          3   motion to compel arbitration, with the exception of Plaintiff's
                                                                          4   claims for co-conspirator or joint and several liability based on
                                                                          5   Plaintiff Costco's purchase of products from defendants other than
                                                                          6   the Philips Defendants.     To that extent, the motion is DENIED.
                                                                          7
                                                                          8        IT IS SO ORDERED.
                                                                          9
                                                                         10        Dated:   December 13, 2013
                               For the Northern District of California
United States District Court




                                                                                                                   UNITED STATES DISTRICT JUDGE
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